                             Case 18-10334        Doc 691-1      Filed 08/22/19     Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                     In re:    Case No.: 18−10334 − WIL       Chapter: 11

The Condominium Association of the Lynnhill
Condominium
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  690 − Motion to Withdraw Unclaimed Funds from Court Registry in the amount of $12550.10
                           Filed by Willy Osman Becerra . (Attachments: # 1 Affidavit # 2 Support Documents) (Arter,
                           Laurie)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 9/5/19. The
                           Affidavit is insufficient.

CURE:                      A new Affidavit in Support of the Motion to Withdraw Unclaimed Funds From the Court
                           Registry must be submitted to the Court, using Willy Osman Becerra as the Deponent to include
                           his address. This document must be "notarized".

CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 8/22/19
                                                                Mark A. Neal, Clerk of Court
                                                                by Deputy Clerk, Laurie Arter
                                                                301−344−3327
cc:    Debtor
       Attorney for Debtor − Patrick John Potter
       Creditor − Willy Osman Becerra

defntc (rev. 12/12/2016)
